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  From:          James Kolenich
  To:            Yotam Barkai; Seguin L. Strohmeier; Christopher Greene
  Subject:       Discovery responses
  Date:          Wednesday, April 18, 2018 9:14:40 PM
  Attachments:   RayDiscovery.pdf
                 VAdiscresponse.pdf


  Please find attached discovery responses from Robert "Azzmador" Ray and
  Vanguard America. These responses are provided as highly confidential pursuant to
  the confidentiality agreement governing this case.

  Jim

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